Case 8:21-cv-02066-VMC-JSS Document 21 Filed 02/18/22 Page 1 of 1 PageID 74




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

DARRELL YARBOROUGH,                             Case No. 8:21-cv-02066-VMC-JSS

               Plaintiff,
v.

HALSTED FINANCIAL SERVICES, LLC,

               Defendant.


                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Darrell Yarborough

and Defendant Halsted Financial Services, by and through undersigned counsel, hereby stipulate

that all claims against Halsted Financial Services shall be DISMISSED WITH PREJUDICE.


Respectfully submitted this 18th day of February 2022.

 /s/ Santiago J Teran                            /s/ Michael A. Gold
 Santiago J Teran (FL Bar No. 1018985)           Michael A. Gold (FL Bar No. 71943)
 Price Law Group, APC                            Walters Levine Parisi & DeGrave
 2125 Biscayne Bldv., Ste 206                    601 Bayshore Boulevard, Suite 720
 Miami, FL 33137                                 Tampa, FL 33606
 E-mail: santiago@pricelawgroup.com              E-mail: mgold@walterslevine.com
 Cell: (347) 946-7990                            E-mail: cmanganiello@alterslevine.com
 Telephone: (818) 600-5586                       Telephone: (813) 254-7474
 Facsimile: (818) 600-5486                       Facsimile: (813) 254-7341

 Attorneys for Plaintiff                         Attorneys for Defendant
 Darrell Yarborough                              Halsted Financial Services, LLC




                                              1/1        Yarborough v. Halsted Financial Services, LLC
                                                                               Stipulation of Dismissal
